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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


   Civil Action No: 16-cv-00629 WJM-STV

   THE ESTATE OF JOHN PATRICK WALTER,
   by and through its personal representative, DESIREE’ Y. KLODNICKI,

         Plaintiff,
   v.

   THE BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF FREMONT;
   ALLEN COOPER, in his official capacity as Fremont County Sheriff; and
   JAMES BEICKER, individually.

         Defendants.
   ______________________________________________________________________________

                     PLAINTIFF’S PROPOSED VERDICT FORMS
   ______________________________________________________________________________

         Plaintiff, the Estate of John Patrick Walter, provides these Proposed Verdict Forms.




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                                    Verdict as to James Beicker

          Question #1: Is James Beicker liable to the Estate of John Patrick Walter?

             ________________                                        __________________
             (Yes)                                                   (No)



         If you answer is “Yes,” proceed to Questions 2 and 3 below. If your answer is “No,”
   move on to the next verdict form.


          Question #2: Do you award punitive damages against James Beicker?


             ________________                                        __________________
             (Yes)                                                   (No)


          Question #3: If your answer to Question #2 is “No” move on to the next verdict form.

   However, if your answer to Question #2 is “Yes,” enter the amount of punitive damages you

   award against James Beicker:

          $__________________________.




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                                    Verdict as to Fremont County

         Question #1: Is Fremont County liable to the Estate of John Patrick Walter? (Note that

   you cannot award punitive damages against Fremont County.)

             ________________                                     __________________
             (Yes)                                                (No)




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                                        Verdict as to General Damages

          Question # 1: If you have found on either of the two previous verdict forms that either

   James Beicker or Fremont County (or both) are liable to the Estate of John Patrick Walter, enter

   the amount of money that you believe will reasonably and fairly compensate the Estate of John

   Patrick Walter for any physical or emotional pain and mental anguish or loss of life you believe

   was caused to Mr. Walter as a result of such liability. (If you have found on either of the two

   previous verdict forms that neither James Beicker nor Fremont County are liable to the Estate of

   John Patrick Walter, enter “N/A.”)

          $______________________________________




          The foreperson should sign and date these Verdict Forms, and then you should inform the

   Courtroom Deputy that you have reached a verdict.



          ____________________________                               ________________
          (Foreperson)                                               (Date)




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         Dated this 29th day of August, 2019.

                                      Respectfully submitted,

                                      BUDGE & HEIPT, P.L.L.C.


                                      /s/ Edwin S. Budge
                                      Edwin S. Budge
                                      Erik J. Heipt
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                                 CERTIFICATE OF SERVICE


          The undersigned certifies that on the date stated below this document was filed with the

   Clerk of the Court for the United States District Court for the District of Colorado, via the

   CM/ECF system, which will send notification of such filing to the following e-mail addresses:

   William T. O’Connell, III
   Katherine M.L. Pratt
   Wells, Anderson & Race, LLC
   1700 Broadway, Suite 1020
   Denver, CO 80290
   woconnell@warllc.com
   kpratt@warllc.com




         Dated this 29th day of August, 2019.

                                                      __/s/ Edwin S. Budge___________________
                                                      Edwin S. Budge




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